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WESTERMAN BALL EDERER

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Ellen Tobin
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December 13, 2019

VIA ECF

The Honorable Lorna G. Schofield

United States District Court for the
Southern District of New York

500 Pearl Street

New York, New York 10007

Re: Kumaran, et al. v. Northland Energy Trading, LLC, et al., 19 Civ. 08345

Dear Judge Schofield:

We represent defendants Northland Energy Trading, LLC, Hedge Solutions, Inc., and
Richard Larkin (collectively, “Defendants”) in the above-referenced action. We respectfully
submit this letter in accordance with paragraphs 2.B. and 2.C. of Your Honor’s Individual Rules
of Practice in Civil Pro Se Cases and paragraph I.B.2. of Your Honor’s Individual Rules of
Practice in Civil Cases. We also write in response to plaintiffs’ letter to the Court dated
December 11, 2019 (see ECF No. 13).

Request For Adjournment

Plaintiffs Samantha Siva Kumaran and The A Star Group, Inc., d/b/a Timetrics (together,
“Plaintiffs”) filed their summons and complaint on September 6, 2019. Defendants’ prior
counsel agreed to accept service of the summons and complaint via e-mail on behalf of all
Defendants, and Plaintiffs affected service by e-mail on December 4, 2019. Defendants’
response is due on December 26, 2019.

In the meantime, Plaintiffs submitted a letter stating their intention to file an amended
complaint by no later than the same day, which Your Honor “So Ordered.” See ECF Nos. 7 & 8.
In light of Plaintiffs’ intention to file an amended complaint, and in order to avoid the expense of
preparing a response to the original complaint only to have it rendered moot by the amended
complaint, Defendants respectfully request:

e Adjournment of Defendants’ time to respond to the original complaint, and, in the
event Plaintiffs elect not to file an amended complaint by December 26, 2019, a
60-day adjournment of Defendants’ time to respond to the original complaint; and

e Adjournment of the 14-day response deadline under Federal Rule of Civil
Procedure 15(a)(3) to 60 days following service of any amended complaint, in
order to provide Defendants sufficient time to respond to the anticipated expanded

 

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allegations and account for the intervening holidays and existing defense counsel
deadlines. !

This is Defendants’ first adjournment request. Plaintiffs do not consent to these requests.
Defendants’ Prior Counsel Unequivocally Accepted Service On Behalf Of All Defendants

As noted above, by email on September 13, 2019, Defendants’ prior counsel agreed to
accept service of the summons and complaint via e-mail on behalf of all Defendants. Plaintiffs
affected service by e-mail to counsel nearly 3 months later, on December 4, 2019. By email on
December 6, 2019, Defendants’ prior counsel confirmed receipt of the summons and complaint.
A copy of the email exchange in this regard is attached as Exhibit “1.” Counsel’s acceptance of
service was clear and unequivocal. There was no valid reason for Plaintiffs to use a process
server to serve additional copies on Defendants at their offices (contrary to Plaintiffs’ statements
in the December 11, 2019 letter (see ECF No. 13)). Respectfully, there is no basis for
Defendants to reimburse Plaintiffs for undertaking this unnecessary expense.

Thank you for your consideration of Defendants’ requests.
Respectfully submitted,

Ellen Tobin

OG: Samantha Siva Kumaran (via ECF and first class mail)

 

| Defendants also included these requests in the joint proposed case management plan and joint letter to the Court
which were submitted yesterday, in advance of the Initial Conference scheduled for December 19, 2019.
